94 F.3d 650
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Richard A. BARKER, Plaintiff-Appellant,v.Peggy L. KERMAN;  D.R. Hartshorn;  S. Hammett;  D.K. Sisto;F. Torrisi;  M. Castillo;  T.J. Van Gelder, E.R.Wilson;  C.L. Adams;  F. Chavez,Defendants-Appellees.
    No. 96-15796.
    United States Court of Appeals, Ninth Circuit.
    Submitted Aug. 12, 1996.*Decided Aug. 22, 1996.
    
      Before BROWNING, SCHROEDER and RYMER, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      This appeal from the district court's order dissolving appellant's preliminary injunction comes to us for review under Ninth Circuit Rule 3-3.  We have jurisdiction under 28 U.S.C. § 1292(a)(1), and we affirm.
    
    
      3
      Our sole inquiry is whether the district court abused its discretion in dissolving the preliminary injunction as moot.   See Gregorio T. v. Wilson, 59 F.3d 1002, 1004-05 (9th Cir.1995).  The record before us shows that the court did not rely on an erroneous legal premise or abuse its discretion in concluding that the court was unable to grant effective relief to appellant with respect to the original preliminary injunction because appellant had been transferred to another institution.  See id.   The court's factual findings and application of legal standards are not clearly erroneous.  See id.   Accordingly, the court's order dissolving the preliminary injunction is affirmed.  All pending motions are denied.
    
    
      4
      AFFIRMED.
    
    
      
        *
         The panel finds this case suitable for decision without oral argument.  Fed.R.App.P. 34(a);  9th Cir.R. 34-4;  9th Cir.R. 3-3(d)
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
    
    